Case 1:02-Cv-01111-.]P|\/|-egb Document 400 Filed 09/01/05 Page 1 of 5 Page|D 2676

UNITED sTATES DISTRICT COURT F“~ED B"' QG"_ D.c.
FOR THE WESTERN DISTRICT 0F TENNESSEE
EASTERN DIVISION 05 SEP "| PH 3= 58
PHILIP E. BOYNToN, cLARENCE W. WMS M GOULD
BOYNToN, NORMA ANN LOGAN, G£R§)U-§~ `;'FF;PP?EEY COUT
RENELDA J. wEsTFALL, SHANNON G’ """~ ‘""?CRJPHFS

NONN, AARON SCOTT BERNARD,

ALAN F. BERNARD, LINDA R. BERNARD
and DAVID ALLEN BERNARD, Individually,
and on behalf of an Unincorporated Association
dib/a “Adtech, Inc. of Illinois,” on behalf of a
General Partnership dib/a “Adtech, Inc. of
Illinois,” and on behalf of a class of similarly
situated persons,

Plaintiffs,

vs. Cause No.: 1-02-1111
HEADWATERS, INC., f/k/a Coval
Technologies, Inc., JAMES G. DAVIDSON,
A. GRAYDON HOOVER, and Unnamed
DOE DEFENDAN'I`S 1 - 25,

Defeodants.
and

HEADWATERS, INC. f/k/a Covol
Technologies, Inc.,

Counterclaimauts,

VS.

PHILLIP E. BOYNTON, VINCENT M
HAMILTON, MAX IRVIN, CLARENCE W.
BOYNTON, NORMA ANN LOGAN,
RENELDA J. WESTFALL, SHANNON
NONN, AARON SCOTT BERNARD, ALAN
` F. BERNARD, LINDA R. BERNARD
And DAVID ALLEN BERNARD, and DOE
DEFENDANTS 1-25,

Counterclaim Defendants

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This ducum@ntentered on the dockets e t'n ornpliance
With Flu!e 58 and/or 79(a) FRCF' on

Case 1:02-cv-01111-.]P|\/|-egb Document 400 Filed 09/01/05 Page 2 of 5 Page|D 2677

WRIT OF HABEUS CORPUS AD TESTIFICANDUM

To: Superintendent
Federal Correctional Institute
Forrest City, Arkansas
and

The United States Marshall’s Service
Western District of Tennessee

It appearing to the Court upon a review of Defendant James Gary Davidson’s
Unopposed Petition for a Writ of Habeus Corpus Ad Testz'jicandum that the petition is
well taken and should be granted, it is therefore:

ORDER_ED, ADJUDGED and DECREED as follows:

l. The United States Marshallis Service shall transport James G. Davidson,
inmate registration number 15646-076, from the Federal Correctional Institution located
in Forrest City, Arkansas to Memphis, Tennessee no later than Friday, September 2, 2005
to be retained in the Western District until the completion of the civil trial of the case.

2. The United States Marshall’s Service transport James G. Davidson to this
Court on Tuesday, September 6, 2005 at 9:00 a.m. and everyday subsequent to that date
until James G. Davidson is excused by the Court.

3. The costs and expenses associated With transporting Jarnes G. Davidson to
Memphis, Tennessee for trial, his confinement in Mernphis, Tennessee during trial and
his return transportation to the Federal Correctional Institution in Forrest City, Arkansas

after trial shall be borne by the United States Marshall’s Service.

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ENTER this the i day of September, 2005.

MV/W(.,QQK

Jo P. McCalla,
nited States District Court Judge

 

This Writ Was prepared by:
Davis Law Firm, P.C.

 

Brian L. Davis
Attorney for Defendant,
James G. Davidson
5185 Getwell Road
Southaven, MS 38671
662-393-8542

CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing has been served on:

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Certifying Attorney

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 400 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

